Case 08-36705-bjh11 Doc 384 Filed 08/24/09 Entered 08/24/09 13:37:59 Desc
Main Document Page 1of3

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Case 08-36705-bjh11 Doc 384 Filed 08/24/09 Entered 08/24/09 13:37:59 Desc
Main Document Page 2 of 3

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Case 08-36705-bjh11 Doc 384 Filed 08/24/09 Entered 08/24/09 13:37:59 Desc
Main Document Page 3 of 3

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